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                Exhibit C
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                                                                            30th November 2020



The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, NY 10007



Dear Judge Nathan:




                                      I have known Ghislaine                         all her life.
                                                     Ghislaine and I have always enjoyed
sharing the personal experience of our lives with each other.                         she was
full of 'vim and vigor' and always just lovely to be with.           she and I have seen our
relationship strengthen through shared common interests. In particular, Ghislaine's passion
for making a positive difference in the world, notably through her creation of the non-profit
TerraMar Project focusing on the protection of the world’s oceans, gave me
                                                    Although always in touch we have talked
and met up much more consistently over the past seven years
                                                                                 It is a joy to
be                            one of her best friends.




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                                                        Throughout her school life Ghislaine
always had friends and seemed to be genuinely grounded in her love of life and learning. We
were all quite proud when she graduated from Oxford with her Bachelor's degree. She,
                                learned early on the value of hard work




                           Around 1990, Ghislaine came to live in New York to continue
Maxwell Corporate Gifts, a successful company she had founded in the UK which was
subsequently absorbed



                                                  in 1991, Ghislaine had to rely on her personal
compass, inner resilience and sheer determination to build a fresh life for herself. Her prior
'big picture' experience, top-level entertaining skills and talent for organizing, coupled with
her multi-cultural and multi-lingual sophistication, opened doors into New York society.
Although it is true that for many years Ghislaine was frequently involved in high society and
attended fashionable social gatherings; what irks me greatly is the press’s one dimensional
‘socialite’ focus on Ghislaine, that completely denies and refuses to acknowledge the very
serious, highly intellectual and passionate caring sides of Ghislaine. For example, since 2003,
Ghislaine devoted all her energy, her own financial resources and intellectual skills to helping
save the Oceans, through her establishment of the not-for-profit company, The Terramar
Project. Ghislaine's deep knowledge and appreciation of the significant role the oceans play
in our world’s fragile ecosystem enabled her to work with key partners to influence the
United Nations in 2014 in enunciating its Sustainable Development Goal 15 "To conserve
and sustainably use the oceans, seas and marine resources for sustainable development."
Indeed, it seemed so clear to me that this mission encompassed her life's passion and offered
a way for her proactively to give something back of real value to society.

Ghislaine showed a huge amount of courage and forbearance in the face of great adversity
                       and in the years that followed. I have seen this strength more than ever
during the times
Despite the tremendous daily pressures she has been under, notably from the world’s media,
universally hostile to her, she has shown simultaneously a deal of humility and fortitude. She
has the profoundly deep conviction (through every fibre of her being) of her innocence in the
face of all the unsupported accusations and criminal charges latterly filed against her.

To the best of my knowledge and belief,               Ghislaine has never been brought in for
questioning, arrested, or charged with any criminal offense by law enforcement until now.
Notwithstanding the seriousness of the offenses with which she has been charged, as a US
Citizen, she has the constitutional right to the presumption of innocence and a fair trial. For
the purpose of increasing their profits by boosting TV ratings and / or newspaper readership,
the world’s media has aired or printed the most heinous accusations against her, in some
cases for years now, that have never been cross-examined in a criminal court in front of an

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independent judge and jury. Ghislaine is not a malicious or jealous person. In all the
I have known her, I have never seen her be violent or act inappropriately against anyone, let
alone young adults or children as has been alleged.

I                                                               believe in her innocence. I know
she would never do anything to put my life or my family’s life in jeopardy in any way, which
is why I have no hesitation in placing the one property that I own – which is my only nest-
egg for my retirement—up as part of her bail application. The value is $1.5 Million dollars. I
do not have any other savings and it would be completely devastating financially and in every
way to my own family were the house to be taken over by the Government due to a breach of
             bail conditions. I know in every fibre of my being that             Ghislaine will
never try to flee and will absolutely turn up to her trial, to have the opportunity to fight the
charges against her. Based on my deep knowledge and experience with Ghislaine
       I totally trust and believe that I do not have to worry in any way about my home being
put up as a part of her bail application.

Until her arrest, I spoke often with Ghislaine over the phone and in the early summer of this
year, two to four times a week.

      I witnessed how hard she worked every day and well into the nights going through the
ever-growing tsunami of press clippings, videos, audio files, etc, that so gravely traduced her
and continue to do so. Ghislaine is completely horrified and flabbergasted by these
unfounded and completely horrendous accusations, as indeed am I.

I feel totally safe around Ghislaine, in fact, I feel safer with her. I have never had any
hesitation in my children visiting her or being with her – as they have been – both as young
children and now they are older. Neither they nor I have ever seen any signs or signals of the
alleged criminal conduct. I personally witnessed her be a warm, lovely, understanding and
caring                                     When visiting Ghislaine more recently as well as in
the past                                                                                   I was
impressed by her interaction with them and by their evident trust in and great affection for her
which was entirely natural and unforced. Every exchange was totally normal and just lovely
to watch how each of these                   clearly liked            and she them. Although
Ghislaine was certainly part of the New York social scene in the past, for many years, it had
become clear to me that she was happy in a long-term loving relationship with her previous
partner of over 7 years far away from the New York scene and with
leading a happy family life with people she loved and trusted and who were similarly equally
loving and trusting of her. I saw the same pattern of strong domesticity and family happiness
with her spouse                                  I have personally witnessed how much they love
being with and being loved by Ghislaine.

In terms of character, Ghislaine is compassionate, capable, and proactive. Ghislaine is very
kind and caring. She brought                                                       to stay with
her in New York for extended periods so that they could spend quality time together. She
took them all around the US to see the sights and to visit with family and friends. Even under
the terrible weight of her present circumstances, she has consistently demonstrated her
consideration for others. Whenever we spoke, she asked about
The fact that she could care enough and not just be thinking only of herself at this impossible
time remains deeply moving to me.

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          has called the United States her home for almost 30 years. She has deep affective
family ties here in this country                                                Most of all, her
own husband                 are here. During the past 18 months in particular Ghislaine has
gone out of her way to continue to stay in the United States expressly so that she could put
her case forward in a court of law should it ever come to that. I therefore feel great
consternation and deep shock and sadness when I hear about the conditions of her present
incarceration, which include over 150 days of solitary confinement and other extreme
deprivations and restrictions. The great toll that this physical, mental, and emotional stress is
taking on             makes it even more impossible for her to adequately prepare her defence
from inside jail.

If she is granted bail, I will be in continuous touch with her during the weeks and months
leading up to her trial, providing whatever support I can while she has the chance to fairly
prepare for her upcoming trial and fight for her innocence.

I am grateful for the opportunity to provide this statement.

Sincerely,




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